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Thomas H. Christiansen, M.Ed., CRC, CDMS, CLCP, LPC
Vocational Consultant
4326 Boulevard Park North
Mobile, Alabama 36609.
(251) 343-3400 or (800) 960-1118

WORK EXPERIENCE
Employer: Carlisle & Associates
Mobile, Alabama
Tob Title: Licensed Professional Counselor

January 2002 - Present

Duties: Interpret psychological and experiential data to determine
vocational potential and assist vocationally disabled individuals in
establishing alternate career goals; assist individuals in realizing
gainful employment; provide medical management; administer and
interpret vocational testing; provide vocational, motivational, and

supportive counseling.
Employer: Independent Vocational Rehabilitation Services
Mohile, Alabama
Job Title: Licensed Professional Counselor

January 1992 - December 2001

Duties: interpreted psychological and experiential data to determine
vocational potential and assist vocationally disabled individuals in
establishing alternate career goals, assisted individuals in realizing
gainful employment; provided medical management; administered
and interpreted vocational testing; provided vocational,
motivational, and supportive counseling.

Employer: IntraCorp
Birmingham, Alabama

Job Title: Vocational Rehabilitation Specialist
February 1989 - December 1991

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Duties:

Employer:

Job Title:

Duties:

Employer:

Job Title:

Duties:

EDUCATION

Interpreted psychological and experiential data to determine
vocational potential and assist vocationally disabled individuals in
establishing altemate career goals; assisted individuals in realizing
gainful employment; provided medical management; administered
and interpreted vocational testing: provided vocational,
motivational, and supportive counseling.

Carlisle & Associates
Mobile, Alabama

Vocational Rehabilitation Counselor.
October 1985 - February 1989

Interpreted psychological and experiential data to determine
vocational potential and assist vocationally disabled individuals in
establishing altemate career goals; assisted individuals in realizing
gainful employment; provided medical manegement; administered
and interpreted vocational testing: provided vocational,
motivational, and supportive counseling,

Mobile Association for the Blind
Mobile, Alabama

Vocational Rehabilitation Counselor
May 1979 - October 1985

Interpreted psychological and experiential data to determine
vocational potential and assist vocationally disabled individuals in
establishing alternate career goals; assisted individuals in realizing
gainful employment; provided medical management; administered
and interpreted vocational testing; provided vocational,
motivational, and supportive counseling.

University of South Alabama, Mobile, Alabama
Master of Education Degree in Rehabilitation Counseling, 1980

University of Southern Mississippi, Hattiesburg, Mississippi _
Bachelor of Science Degree in Psychology, 1976
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PROFESSIONAL CERTIFICATES

Licensed Professional Counselor, State of Alabama, Board! of Examiners in Counseling,
License Number 592

Certified Rehabilitation Counselor, The Commission on Rehabilitation Counselor _
Certification, CRC Number 00004894

Certification of Disability Management Specialists Commission, Division of Board
for Rehabilitation Certifications, Number 04117

Certified Life Care Planner, Commission on Health Care Certification.
CLCP Number 0675

LIFE CARE PLAN/MEDICAL COST PROJECTIONS

ACL tear, Jeft shoulder and left knee replacement

Anterior cervical discectomy and fusion, C5-6

Anterior instrumentation and fusion of spinal cord, vertebral body placement and cage
arthrodesis .

Arachnoiditis, ultrathecal catheter and synchomed pain pump

Bilateral femoral fracture with intermedullary rod fixation, advanced age

Bilateral carpal tunnel syndrome, spondylosis C-spine, osteoarthritis with meniscal
tear right knee

Bilateral hip fractures with ORIF intermedullary rod placement, Alzheimer’ $ Disease

BTK amputation

Calcaneal fracture, partial degloving of foot and chronic pain

Cervical discectomy with intractable pain, cervical fusion, chronic depression

Decubiti ulceration with flap resection

Degloving, bilateral hands, post-traumatic stress disorder (PTSD) and
pre-existing obsessive compulsive disorder (OCD) with history of narcotic abuse

Humeral and scapular fractures, heterotopic ossification, chronic depression

Lead exposure

Parkinsonism

Quadraplegia

Reflex Sympathy Dystrophy (RSD)

Retinopathy of Prematurity

Tetraplegia

Tetraplegia (incomplete) resulting from transoral odontoidectomy with resection of
pannus and decompression of cord, posteriorcervical fusion

T-8 paraplegia with urostomy and stress fractures

T9-10 subluxation with complete transection, multiple decubiti flap resections, colostomy

TMJ, tinnitus with positional vertigo, chondrolysis of hip

Transfemoral amputation

Traumatic amputation of multiple digits with subsequent rectus and great toe flaps

Traumatic brain injury, BTK amputation, intestinal resection and diabetic neuropathy

Traumatic incomplete paraplegia with patello-femoral syndrome, neurogenic bladder

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Two level laminectomy with discectomy at L3-4 and L4-5; two level L3-4 and L4-5
anterior fusion; intradiscal electrothermal annuloplasty (IDET) at L4-81; spinal
cord stimulator: failed back syndrome

PROFESSIONAL MEMBERSHIP

Mental Health Association of Mobile County

CONTINUIN ON

Presentation, Life Care Planning, Alabama Bar Association, Worker’ s Compensation
Division, November 2008

Medicare Set Aside Training Course, August 2008

Counseling Ethics, July 2008

Fundamentals of Vocational Rehabilitation, December 2007

Speaker, "Life Care Plans", AWCO Last Chance Seminar, November 2006

Rehabilitation Consultant's Handbook, Part Il, October 2006

Strategic Case Management, December 2005

Bum Trawna, November 2004

Medicare Set Aside Arrangement Conference, October 2004

Counseling Ethics, Tune 2004

Preparing a Life Care Plan on a Catastrophic Case, August 2003

22" Amual AWCO Inc. Educational Seminar, April 2003

Preparing a Life Care Plan on a Catastrophic Case, February 2003

Rehab Consulting & Life Care Planning, February 2003

TBI/Pediatric Brain Damage, February 2003

Multiple Disabilities, December 2002

Traumatic Brain Injuries, December 2002

Rehab Consulting & Case Management, October 2002 -

Forensic Rehabilitation, July 2002

Spinal Cord Injuries, June 2002

Tenets & Methodology, June 2002

15" Annual Mississippi WC Educational Conference, April 2002

Directions in Rehabilitation Counseling, Vol. 10, February 2002

Ethical and Professional Issues in Counseling, February 2002

Directions in Rehabilitation Counseling, Vol. 9, Iuly 2000

Return to Work, July 2000

Directions in Rehabilitation Counseling, Vol. 7, July 1998

Rehabilitation Consultant Strategies, July 1997

Workplace Accomodation, December 1996

Directions in Rehabilitation Counseling, Vol. 4, March 1996

Essential Functions: ADA, June 1996

In Touch Training, March 1995

Directions in Rehabilitation Counseling, Vol. 3, Mareh 1993

Montgomery Regional Workshop, September 1992

Psychological Treatment Issues for Victims, August 1992

Enhancing Community Living Skills for Brain-Injured People from Hespital to Home:
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A Team Approach, April 1992

Finishing Your Business With Mother, March 1992

Strengthening Families in the Decade of the 90s, March 1992

From Addiction to Intimacy in Relationships, February 1992

Phobia and Panic Disorder Conference, February 1992

In Touch Training, May 1991

Alabama Worker's Compensation Law, April 1990

Legal Issues Involving Rehab Professionals and Overview of the Comp Law,
December 1989

Life Care Plan v, Cost Projection, December 1989

Rehabilitation Orientation, September 1989

Vocational Expert Witness, March 1989

Work Capacity Evaluation, December 1988

The Role of the Rehabilitation Counselor in Longshore and Harbor Workers
Compensation, Apri] 1988

Working with Brain Injured Individuals, March 1988

Vocational Evaluation Using the PAS 1, January 1988

The Role of Arthroscopic Surgery, December 1987

Dealing with Depression, June 1987

Time Management, June 1987
